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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLO RIDA

                            CASENO. 27-60091-CR-BI,O O M /V A LLE
                                        21U.S.C.j841(a)(1)
  UNITED STATES OF AM ERICA

  V9.                                                                        FILED >                 -D.C.

  AXEL GIOVANY CASSEUS,                                                            MAt û5 2222
  a/k/a $çGee,$'                                                                    ANGEUAE.NOBLE
                                                                                   cLEBK u.s.DIST.C'r
                                                                                  s.D:OFFtA.-FT.LAUD.

  Defendant.
                                        /

                                            INDICT M ENT
                                                 -




         TheGrand Jury chargesthat:

                                           COUNT 1
                             Distribution ofaControlled Substance
                                      (21U.S.C.j841(a)(1))
         On oraboutM arch 10,2022,in Broward Cotmty,in the Southem DistrictofFlorida,the

  defendant,

                                 AXEL G IOVANY CASSEUS,
                                        a/k/a $<Gee,''

  did knowingly and intentionally distribute acontrolled substance,in violation ofTitle 21, United

  StatesCode,Section 841(a)(1)andTitle18,United StatesCode,Section 2.
         PursuanttoTitle21,UnitedStatesCode.Section 841(b)(1)(C),itisfurtherallegedthatthis
 violation involved am ixtureand substancecontaining a detectableam ountofcocaine, a Schedule

 11controlled substance.
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        PursuanttoTitle21,United StatesCode,Section 841(b)(1)(C),itisfurtherallegedthatthis
 violation involvedamixtureand substancecontaining adetectableam ountoffentanyl,aSchedule

 11controlled substance,and thatthe useofthefentanylresulted in seriousbodily harm to M .T.B.

 and R .A .F.

                                          COUNT 2
                            Distribution ofa Controlled Substance
                                     (21U.S.C.j841(a)(1))

        On oraboutM arch 11,2022,in Broward County,in the Southern DistrictofFlorida,the

 defendant,

                                 A X EL G IO V AN Y C ASSEU S,
                                          a/k/a idGee,''

 did knowingly and intentionally distribute a controlled substance,in violation ofTitle 21,United

 StatesCode,Section 841(a)(1).
        PursuanttoTitle21,UnitedStatesCode,Section841(b)(1)(C),itisfurtherallegedthatthis
 violation involved a m ixture and substance containing a detectable nm ountofcocaine,a Schedule

 11controlled substance.

                               FO RFEITURE ALLEGATIO NS

                The allegationsofthisIndidmentare hereby re-alleged and by thisreferencefully

 incorporatedherein forthepurposeofallegingforfeituretotheUnited StatesofAmericaofeertain

 property in w hich the defendant,AXEL G IO VAN Y CASSEUS a/lk/a ddG ee''hasan interest.

                UponconvictionofaviolationofTitle21,United StatesCode,Section 841(a)(1),
 as alleged in this lndictm ent, the defendant shall forfeit to the U nited States any property

 constituting,or derived from ,any proceeds obtained,directly orindirectly,as a result ofsuch

 violation,and any property thatwasusedorintendedto beused,in any m annerorpart, to com mit
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 orto facilitate the com m ission of such offense,pursuantto Title 21, United States Code,Section

 853.

 A11pursuantto Title 21,United StatesCode,Section 853.

                                                    A TRU E BILL




                                                    FOR EPERSON


 JUAN A NTO O GO N ZA LEZ
 UN ITED STA TES A TTORN EY




 A A J. LEXANDER
 ASSISTANT UNITED STATES ATTORN EY
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                                        TES DISTR         Docket
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                                  SO UTH ERN DISTRICT OF FLORIDA

U NITED STATES O F AM ERIC A                        CA SE N O .:

V.
                                                    C ER TIFIC A TE O F TR IA L A TTO R N EY *
AX EL GIOVAN Y CASSEU Sa/k/a''Gee,''
                                       1            Superseding Case lnform ation:
                    efendant.
CourtDivision (selectone)                          New Defendantts)(YesorNo
   D M iami D KeyW est L FTP                       NumberofN ew Defendants
   E FTL         D W PB                            Totalnum berofN ew Counts

ldohereby certifythat:
 1.    lhave carefully considered the allegationsoftheindictm ent,thenum berofdefendants,thenum berofprobable
       witnessesand the legalcom plexitiesofthelndictment/lnform ation attached hereto.
       lam awarethattheinfonnation supplied onthisstatem entwillbe relied upon by theJudgesofthisCourtin setting
       theircalendarsand scheduling crim inaltrials underthe mandate ofthe Speedy TrialAct,Title 28U .S.
                                                                                                       C.j3l61.
       lnterpreter:(YesorNo) O
       Listlanguageand/ordialect:
       Thiscasewilltake       daysforthepartiesto try.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
       1 Le 0to 5days                   D   Petty
       11 D 6to 10days                  n   Minor
       l11 l1to20days                   D   M isdemeanor
       IV  21to 60days                  n   Felony
       V      61daysand over

     Hasthiscase been previously filed in thisDistrictCourt? YesorNo O
     Ifyes,Judge                                  CaseNo.
 7. Has a com plaintbeen filed in thism atter? Y es orN o es
     lfyes,M agistrateCaseNo.22-MJ-6190-STRAUSS
 8. D oesthiscase relate to a previously filed m atterin thisD istrictCourt? Y es orN o O
     lfyes,Judge                                  Case N o.
 9. Defendantts)infederalcustodyasof A ril29 2022
 10. Defendantts)in statecustodyasof March14 2022
 l1. Rule20from the                 Districtof
 12. Isthisapotentialdeathpenaltycase?(YesorNo) 0
 13. D oesthiscase originate from a m atterpending in the N orthern Region ofthe U .S.A ttom ey's Office
       priortoAugust8,2014(Mag.JudgeShaniekM aynard?(YesorNo) O
 14. Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sO ffice
       priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo) o



                                                   By:
                                                           A JA J. LEX A     ER
                                                             ssistantU nited tatesA ttom ey
                                                             ourt     o.      A5502506
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                            SO U TH ER N DISTR ICT O F FLO R IDA

                                       PE NA LTY SH EET

  Defendant's N am e:    AX EL G IO VA N Y CA SSE US
  Count 1

  D istribution ofa Controlled Substance

  Title21,United StatesCode,Section 841(a)(1)
  *M ax. Penalty: Life lm prisonm ent with a M andatory M inim um 20 Years' lm prisonm ent;
  $1,000,000 Fine;Supervised Releaseof3 Yearsupto Life

  Count2

  D istribution ofa Controlled Substance

  Title21,UnitedStatesCode,Section 841(a)(1)
  *M ax.Penalty:20 Years'Imprisonm ent;$1,000,000 Fine;Supervised Releaseof3 Yearsup to
  Life

  WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
